0270 PA Absentee Live ID Topline

                                                                             11/9/2020 11/10/2020 11/11/2020
     18037 Completes                                                              4419      13618          0
            Completed
        834 Answering
            survey** - Q4=01     status = C                                       178        656
    14,203 Refused/Early
            Machines             status = AM                                     3465      10738
      3,000 Bad/Wrong
            Hang up/RC           status = R, IR, RC, DC                           776       2224
      3,521 Numbers/Languag      status = D, BC,WN, NE                            556       2965
          0 MA                   status = MA

   87.70% List Penetration

    24,581 Data Loads                                                          24,581

Q1 - May I please speak to
                                 Response                                    9-Nov      10-Nov     11-Nov
<lead on screen>?
     2,262             75.86%    1. “What
                                 2.       is this
                                    Reached       about?”/Uncertain
                                              Target [Go to Q2].    [Go to        593      1,669
       422             14.15%    Q2].                                             102        320
       298               9.99%   X = Refused <Go to CLOSE A>                       77        221
       739             24.78%    Q = Hangup <Go to CLOSE A>                       160        579
     2,982            100.00%    Sum of All Responses                             932       2789            0


Q2 - Did you request an
                                 Response                                    9-Nov      10-Nov     11-Nov
absentee ballot?

     1,114              43.91% 1. Yes. [Go to Go to Q3].                          331        783
       531              20.93% 2. No. [Go to Q4].                                 131        400



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                                  3. Spouse/other household member
        36              1.42%     confirmed  “Yes” [Go
                                  4. Spouse/other        to Q3] member
                                                    household                     12         24
        25              0.99%     confirmed “No” [Go to Q4]                        9         16
        91              3.59%     5.
                                  6. Unsure.  [Go to
                                     Actual target notQ3].
                                                       available at the           25         66
        89              3.51%     moment.
                                  7.        [Go
                                     Voted in    to Close
                                               Person      A] [Go to Close
                                                       at Polls.                  17         72
       544             21.44%     A]                                             105        439
       107              4.22%     X = Refused <Go to CLOSE A>                     29         78
       147              5.79%     Q = Hangup <Go to CLOSE A>                      36        111
     2,537            100.00%     Sum of All Responses                           695       1989              0


Q3 - Did you mail back that
                                  Response                                   9-Nov     10-Nov       11-Nov
ballot?

       452             39.75% 1. Yes. [Go to Go to Q4].                           90          362
       632                    2. Spouse/other
                       55.58% 3. No. [Go to Close   A].
                                                household   member               229          403
        11                    confirmed
                        0.97% 4.         “Yes” [Go
                                 Spouse/other        to Q4] member
                                                household                          1           10
        11              0.97% confirmed “No” [Go to Close A]                       4            7
        15                    5. Actual
                        1.32% 6. Unsure.target
                                          [Go to
                                               notClose  A]. at the
                                                   available                       6            9
         2              0.18% moment. [Go to Close A]                              0            2
        14              1.23% X = Refused <Go to CLOSE A>                          5            9
        13              1.14% Q = Hangup <Go to CLOSE A>                           8            5
     1,137            100.00% Sum of All Responses                               343          807            0

Q4 - Can you please give us
the best phone number to          Response                                   9-Nov     10-Nov       11-Nov
reach you at?
       834             87.61%     01 = Yes <Go to CLOSE B>                       178          656
       118             12.39%     X = Refused <Go to CLOSE A>                     36           82
         67             7.04%     Q = Hangup <Go to CLOSE A>                      17           50
       952            100.00%     Sum of All Responses                           231          788            0




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